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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Southern District of Ohio

 

 

United States of America )
v. )
) Case No. 3 a | 4 ier “
ETHAN KOLLIE : | = A y
)
7 )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of | May 9, 2019 to August 8, 2019 __ in the county of Montgomery in the
Southern District of _ Ohio , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 922(g}(3) Possession of a firearm by an unlawful user/addict of a controlled substance
18 U.S.C. § 924(a)(1)(A) Making a false statement regarding firearms

This criminal complaint is based on these facts:

See Attached Affidavit

a Continued on the attached sheet.

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LY pena

SA P. Andrew Gragan, FBI

 

 

   

Sworn to before me and signed in my presence.

  

 

Date: 08/09/2019 f:
Judge Bsigna ire
: a aw
City and state: Dayton, Ohio Hon. Michael J. Newman) U.S.Magistrate Judge

 

 

a —Printedytame and title
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, P. Andrew Gragan, being first duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

I. I make this affidavit in support of a Criminal Complaint charging Ethan
KOLLIE with (1) between on or about May 9, 2019, and August 8, 2019, in the Southern
District of Ohio, possession of a firearm in interstate or foreign commerce by a person who is an
unlawful user of or addicted to any controlled substance, in violation of 18 U.S.C. § 922(g)(2),
and (2) on or about May 9, 2019, in the Southern District of Ohio, making false statements or
representations with respect to information required by chapter 44 of Title 18 of the United State
Code, in violation 18 U.S.C. § 924(a)(1)(A).

2 Iam a Special Agent with the Federal Bureau of Investigation (“FBI”), Cincinnati
Division. I have been employed as a Special Agent with the FBI since May 2016. I have
received training in national-security investigations and criminal investigations, and I have
conducted investigations related to international terrorism, white-collar crimes, drug trafficking,
public corruption, firearms, and violent crimes. As part of these investigations, I have
participated in physical surveillance and records analysis, worked with informants, conducted
interviews, served court orders and subpoenas, and executed search warrants.

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested Criminal Complaint and

arrest warrant and does not set forth all of my knowledge about this matter.
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PROBABLE CAUSE

4. On or about August 4, 2019, agents with the FBI and ATF (Bureau of Alcohol.
Tobacco, Firearms and Explosives) interviewed Ethan KOLLIE (KOLLIE), at his residence of
1216 Cloverfield Avenue, Apartment D, Kettering, Ohio, in connection with the mass shooting
earlier that day in Dayton, Ohio, committed by Conner Stephen BETTS (BETTS). KOLLIE
indicated that he liked guns and currently owns a handgun and a micro Draco pistol. He also
indicated that he purchased body armor and a firearm accessory for BETTS earlier this year.
KOLLIE consented to a search of his residence. While inside, the agents smelled marijuana and
observed, in plain sight, paraphernalia consistent with smoking marijuana, including what
appeared to be a “bong,” a drug delivery device commonly used to smoke marijuana. Agents
also observed in plain sight, on the counter, what they believed to be the Draco pistol. KOLLIE

indicated that his handgun was in his bedroom.

5. On or about August 8, 2019, agents with the FBI again interviewed KOLLIE,
this time at his place of work. KOLLIE advised the FBI that he was concealed carry, which,
based upon my training and experience, is an indication that he was carrying a firearm, and that
he was claiming to have a permit to do so. The FBI observed a belt clip of what appeared to be
an inside-the-waistband holster. KOLLIE informed the FBI that he and BETTS had done “hard
drugs,” marijuana, and acid together four to five times a week during 2014 to 2015. When asked
how often he used drugs in the past year and a half, KOLLIE indicated that he smoked
marijuana every day and had done so since he was fourteen. Agents asked KOLLIE: “So you

never stopped,” or words to that effect. KOLLIE responded “that’s right,” or words to that
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effect. Based on my training and experience, and information from other law enforcement

agents and officers, | am aware that marijuana is a controlled substance,

6. Records obtained from a Dayton area Federal Firearm Licensed dealer included
an ATF Form 4473, which based on my training and experience I know is required in order to
complete the transaction of purchasing a firearm from a licensed dealer. The form pertained to
the purchase by KOLLIE of a Century Arms Draco 7.62x39mm pistol with serial number PMD-
11797-19. The form transferee/buyer was listed as Ethan William KOLLIE with the address of
1216 Cloverfield Avenue, Apartment D, Kettering, Ohio, and a date of birth and social security
number that is consistent with Ohio Bureau of Motor Vehicle records for KOLLIE. The transfer
of the firearm from the dealer to KOLLIE was completed on May 9, 2019.

7. Box lle of the ATF Form 4473 states, “Are you an unlawful user of, or addicted
to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance?
Warning: The use or possession of marijuana remains unlawful under Federal law regardless of
whether it has been legalized or decriminalized for medicinal or recreational purposes in the state
where you reside.” KOLLIE’s Form 4473 was checked “No” in response to the question in box
lle.

8. On or about August 8, 2019, the FBI executed a federal search warrant, issued on
or about August 8, 2019, by the United States District Court of the Southern District of Ohio, on
the person of KOLLIE. When encountered by the FBI, KOLLIE was advised of the federal
search warrant and that he was not under arrest. When asked if he had anything on his person,

KOLLIE indicated that he had a bag of weed and a firearm. Agents pulled a small plastic bag
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from KOLLIE’s pocket, which KOLLIE advised was marijuana. A revolver, later identified to
be a Taurus .38SPC +P with serial number GZ80488, was also removed from his person.

9. During execution of the warrant, the FBI asked KOLLIE to speak with them and
he agreed to do so. During the interview, KOLLIE admitted to being a regular user of illegal
drugs, including marijuana and psychedelic mushrooms, which he grew in his residence.
KOLLIE stated that he micro-doses the mushrooms on a constant basis, saying it provides him
with energy and is “fun.” KOLLIE described the process of how he grew mushrooms in plastic
bins in his room, including the mushroom starter mycelium, the grow process, time to harvest.
and the yield he obtained every two to three months. KOLLIE stated he had recently harvested
and processed his mushrooms.

10. The FBI asked KOLLIE if he was asked about his drug use on the ATF form
when he purchased his firearms. KOLLIE responded that he did remember answering that
question on the ATF form when he bought his firearms. KOLLIE stated that he answered “no”
to the question regarding drug use. When asked why he lied, KOLLIE stated he knew that if he
told the truth about his drug use, he would not be allowed to purchase a firearm, so he lied and
answered “no.” KOLLIE acknowledged his purchase for BETTS of the following items used
by BETTS in the August 4, 2019 shooting in Dayton: (1) body armor, (2) upper receiver of the
AR-15 weapon, and (3) the 100-round double drum magazine. KOLLIE indicated that he
purchased these items for BETTS — and stored them in KOLLIE’s apartment — to assist BETTS
in hiding them from BETTS’ parents. KOLLIE indicated that approximately 10 weeks ago
while in KOLLIE’s apartment, KOLLIE watched and helped BETTS assemble the AR-15
weapon used by BETTS in the August 4, 2019 shooting in Dayton. KOLLIE indicated that

upon arrival of the drum magazine approximately 6 to 8 weeks ago, BETTS retrieved the
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assembled weapon, including the drum magazine, and took possession of it and the body armor
at that time.

Uy. On or about August 8, 2019, the FBI] executed a federal search warrant, issued on
or about August 8, 2019, by the United States District Court of the Southern District of Ohio, on
the premises of 1216 Cloverfield Avenue, Apartment D, Kettering, Ohio. During the search of
the premises, agents located the aforementioned Draco pistol, a Taurus Model PT111 G2A semi-
automatic pistol with serial number TLR08219, ammunition, drug paraphernalia, including a
clear glass pipe and what is commonly referred to as a “bong,” and what appeared to be
controlled substances, including what appeared to be mushrooms, which based on my training
and experience are cultivated and consumed because they often contain psilocyn and psilocybin,

Schedule I controlled substances.

12. Based on the foregoing, I believe there is probable cause to believe that KOLLIE
committed the following criminal violations: (1) between on or about May 9, 2019, and August
8, 2019, in the Southern District of Ohio, possession of a firearm in interstate or foreign
commerce by a person who is an unlawful user of or addicted to any controlled substance, in

violation of 18 U.S.C. § 922(g)(2), and (2) on or about May 9, 2019, in the Southern District of
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Ohio, making false statements or representations with respect to information required by chapter

44 of Title 18 of the United State Code, in violation

  

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on August pape in Payee aA

 

18 U.S.C. § 924(a)(1)(A).

ae submitted,

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P. Andrew Gragan we
Special Agent
Federal Bureau of Investigation

 

Hon. Michake\ Newman = VS)
UNITED STATES S MAGISTRATY’ AUDGE

 
